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                                                IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE NORTHERN DISTRICT OF OHIO
                                                          EASTERN DIVISION

                        LUIS ANGEL ALVAREZ ROMAN,                             :
                                                                              :      CIVIL ACTION NO. 1:23-cv-02348
                                                       Plaintiff,             :
                                                                              :      JUDGE PATRICIA A. GAUGHAN
                                 v.                                           :
                                                                              :
                        CITY OF LORAIN, OHIO, ET AL.,                         :
                                                                              :
                                                       Defendants.            :
  /s/ Patricia A. Gaughan
               2/3/25




                                                        STIPULATION OF DISMISSAL
SO ORDERED.




                                 Plaintiff Luis Angel Alvarez Roman and the County of Lorain Defendants (including its

                        individual defendants, Phil R. Stammitti, Jacob Bell, Darnell Board, William Newbury, Amon

                        Willis, Scott Zimmerman, and Stephanie Suter), by and through undersigned counsel and pursuant

                        to Fed. R. Civ. P. 41(a)(1)(ii), hereby stipulate that this Action be dismissed with prejudice. Each

                        party bears their own costs.

                                                                Respectfully Submitted,

                            By:_/s/ David M. Smith                           /s/ Madeline J. Rettig
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